Gmail - RE: 4:22-cv-00088 Wilmington Savings Fund Society, FSB v....        https://mail.google.com/mail/u/0/?ik=2c049d80de&view=pt&search=a...
                      Case 4:22-cv-00088 Document 40-3 Filed on 07/19/23 in TXSD Page 1 of 5


                                                                                                    ira joffe <ira.joffe@gmail.com>



         RE: 4:22-cv-00088 Wilmington Savings Fund Society, FSB v. Myers et al; Civil
         Action Number: 4:22-cv-00088 / TX-21-78855-JF
         2 messages

         Ramona Ladwig <rladwig@mccarthyholthus.com>                                             Mon, Jun 13, 2022 at 6:41 PM
         To: "Arturo_Rivera@txs.uscourts.gov" <Arturo_Rivera@txs.uscourts.gov>
         Cc: ira joffe <ira.joffe@gmail.com>, Cole Patton <CPatton@mccarthyholthus.com>, txidscm
         <txidscm@mccarthyholthus.com>, Stacie Nakagai <snakagai@mccarthyholthus.com>, Fidelina Timmons
         <ftimmons@mccarthyholthus.com>


           Mr. Rivera,



           See attached. We would like to inform the court of what is happening behind the scenes in this case.
           Unfortunately an attorney, Mr. Ira Joffe, has been sending us numerous letters regarding various
           questions about this file, about our recent service by mail and statute of limitations defenses. He insists
           that he represents the defendants here in prior matters but fails to put in a notice of appearance in this
           case. We have repeatedly told him that, despite his prior representations, we cannot communicate with
           him on the file until he has made an appearance in this matter. Mr. Joffe refuses to accept this position.
           He has also refused to waive service in this case despite numerous requests. Yet he still insists on
           sending us numerous letters with numerous questions about the file. In his fifth letter he asks again for
           specific names of attorneys on the file who authorized service by mail, presumably so he can file a bar
           complaint.



           Through this email we are letting him know that we do not intend to respond or further engage with him
           at the risk of breaching client confidentiality, and we will not respond to his fifth letter or any further
           letters, until he files an appearance on behalf of the defendants in this case.



           We ordinarily would not involve the court in this unusual matter, but the tenor of Mr. Joffe’s
           communications is so increasingly alarming that we feel the need to involve the Court to have some
           oversight into the communications.



           Thank you for your attention to this matter.




           Ramona V. Ladwig | Senior Litigation Associate | Licensed in TX, FL, and NY


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1 of 5                                                                                                                      7/18/2023, 5:38 PM
Gmail - RE: 4:22-cv-00088 Wilmington Savings Fund Society, FSB v....                                                        https://mail.google.com/mail/u/0/?ik=2c049d80de&view=pt&search=a...
                             Case 4:22-cv-00088 Document 40-3 Filed on 07/19/23 in TXSD Page 2 of 5
           McCarthy ♦ Holthus, LLP

           1255 W 15th St Ste 1060, Plano, TX 75075

           214.291.3781 (main) | 214.984.7551 (cell)

           rladwig@mccarthyholthus.com

           http://www.mccarthyholthus.com



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           Should escalation be required, please contact: Cole Patton at cpatton@mccarthyholthus.com.



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           arrangements will be made to retrieve the originals from you at no charge.




           From: ira joﬀe <ira.joffe@gmail.com>
           Sent: Monday, June 13, 2022 4:56 PM
           To: Cole Pa on <CPa on@McCarthyHolthus.com>; Ramona Ladwig <rladwig@McCarthyHolthus.com>; txidscm
           <txidscm@McCarthyHolthus.com>; Stacie Nakagai <snakagai@McCarthyHolthus.com>; Fidelina Timmons
           < immons@McCarthyHolthus.com>
           Subject: Wilmington v. Myers - Fi h No ce Package


           Please see the attached.


           --

           Ira D. Joffe, Esq.
           6750 West Loop South
           Suite 920
           Bellaire, (Houston) TX 77401

           (713) 661-9898
           (888) 335-1060 Fax


            5 attachments
                   2022_06_13 FIFTH NOTICE PACKAGE.pdf
                   504K
                   2022_06_07 LIMITATIONS HAS EXPIRED.pdf
                   264K


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2 of 5                                                                                                                                                                                                                7/18/2023, 5:38 PM
Gmail - RE: 4:22-cv-00088 Wilmington Savings Fund Society, FSB v....    https://mail.google.com/mail/u/0/?ik=2c049d80de&view=pt&search=a...
                      Case 4:22-cv-00088 Document 40-3 Filed on 07/19/23 in TXSD Page 3 of 5

                2022_06_01 ANSWERS ARE NEEDED.pdf
                273K
                2022_05_27 REQUESTS REPEATED.pdf
                310K
                2022_05_20 CONLFLICTING STORIES.PDF
                315K


         Art Rivera <Arturo_Rivera@txs.uscourts.gov>                                            Tue, Jun 14, 2022 at 11:00 AM
         To: Ramona Ladwig <rladwig@mccarthyholthus.com>
         Cc: ira joffe <ira.joffe@gmail.com>, Cole Patton <CPatton@mccarthyholthus.com>, txidscm
         <txidscm@mccarthyholthus.com>, Stacie Nakagai <snakagai@mccarthyholthus.com>, Fidelina Timmons
         <ftimmons@mccarthyholthus.com>


           Good morning,

           The Court advises Mr. Joﬀe that if he would like to be involved in this case he must ﬁle an appearance, and will
           need to manage his decorum, otherwise there will be consequences.



           Arturo A. Rivera
           Case Manager to the Honorable Keith P. Ellison
           United States District Court
           515 Rusk St.
           Suite 3716
           Houston, TX 77002
           Office: 713-250-5181




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           Cc: ira joﬀe <ira.joffe@gmail.com>; Cole Pa on <CPa on@McCarthyHolthus.com>; txidscm
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           Subject: RE: 4:22-cv-00088 Wilmington Savings Fund Society, FSB v. Myers et al; Civil Ac on Number: 4:22-
           cv-00088 / TX-21-78855-JF



            CAUTION - EXTERNAL:




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                                   DEFENDANTS' EXHIBIT 13 -- PAGE 3
3 of 5                                                                                                                  7/18/2023, 5:38 PM
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                             Case 4:22-cv-00088 Document 40-3 Filed on 07/19/23 in TXSD Page 4 of 5
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4 of 5                                                                                                                                                                                                                7/18/2023, 5:38 PM
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           Bellaire, (Houston) TX 77401

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